               Case 2:11-cr-00429-JAM Document 423 Filed 12/04/15 Page 1 of 2

 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MATTHEW D. SEGAL
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-429 JAM
11
                                   Plaintiff,             STIPULATION AND TO VACATE BRIEFING
12                                                        SCHEDULE AND SET STATUS CONFERENCE
                             v.
13
     CHRISTOPHER W. MACQUEEN,
14
                                   Defendant.
15

16

17           Plaintiff and Defendant, by their attorneys, stipulate and agree that the Court vacate the briefing

18 schedule set for Defendant’s Motion to Dismiss. (Dkt. 153). The parties anticipate entering into a

19 deferred prosecution agreement.

20 //

21 //

22 //

23 //

24 //

25 //

26 //

27 //

28 //


        STIPULATION AND [PROPOSED] ORDER TO VACATE        1
        BRIEFING SCHEDULE AND SET STATUS CONFERENCE
             Case 2:11-cr-00429-JAM Document 423 Filed 12/04/15 Page 2 of 2

 1         The parties request that the Court set a status conference for 9:15 a.m. on January 19, 2016. For

 2 the time being, exclusion of time remains appropriate in light of Defendant Macqueen’s pending motion.

 3 See 18 U.S.C. § 3161(h)(1)(D); Local Code E.

 4                                                         Respectfully submitted,

 5 Dated: December 3, 2015                                 BENJAMIN B. WAGNER
                                                           United States Attorney
 6

 7                                                  By: /s/ MATTHEW D. SEGAL
                                                        MATTHEW D. SEGAL
 8                                                      Assistant United States Attorney
 9

10                                                         /s/ Malcolm Segal
     Dated: December 3, 2015                               MALCOLM SEGAL
11                                                         Attorney for Defendant
12

13 SO ORDERED.

14
     Dated: 12/4/2015                                      /s/ John A. Mendez
15                                                         HON. JOHN A. MENDEZ
                                                           U.S. District Court Judge
16

17

18

19

20

21

22

23

24

25

26

27

28


      STIPULATION AND [PROPOSED] ORDER TO VACATE       2
      BRIEFING SCHEDULE AND SET STATUS CONFERENCE
